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                                                  ORDERED.


    Dated: May 20, 2024




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                 Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-02486-GER
RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                            Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                              Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                           Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                         Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                              Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                                Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                                       Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                                 Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                            Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                                     Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                          Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                                     Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                Case No. 6:24-bk-02500-GER

      Debtors.                                                         (Joint Administration Pending)
__________________________________________/

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.
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                               ORDER GRANTING DEBTORS’ EX PARTE
                               MOTION FOR JOINT ADMINISTRATION

           THIS CASE came before the Court, without a hearing, upon the Debtors’ Ex Parte Motion

for Joint Administration [ECF No. 5] (the “Motion”) filed by the above captioned debtors and

debtors-in-possession (each a “Debtor” and, collectively, the “Debtors”), pursuant to Bankruptcy

Rule 1015(b) and Local Rule 1015-1. The Motion requests entry of an order authorizing the joint

administration of the bankruptcy cases of the Debtors. The Court finds that (i) it has jurisdiction

over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent

with Article III of the United States Constitution; (iii) venue is proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; (iv) the relief requested in the Motion is in the best interests of the

Debtors, their estates, their creditors and other parties in interest; (v) pursuant to Local Rule 1015-

1, the Court is authorized to grant the Motion without a hearing at its discretion; (vi) notice of the

Motion was appropriate under the circumstances and no other notice need be provided; and (vii)

upon a review of the record before the Court, including the legal and factual bases set forth in the

Motion and the First Day Declaration2, good and sufficient cause exists for the granting of the

relief as set forth herein. Accordingly, it is

           ORDERED that:

           1.       The Motion is GRANTED.

           2.       The above-captioned bankruptcy cases are consolidated for procedural purposes

only and shall be jointly administered. The case of Red Lobster Management LLC, Case No. 6:24-

bk-02486-GER is designated as the “Lead Case.”




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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         3.     The Clerk of the Court shall maintain a single case docket using the Lead Case

number.

         4.     Hearings in these jointly administered cases shall be joint hearings unless otherwise

specified.

         5.     Except as set forth below, all papers, including, without limitation, motions,

applications, notices, monthly operating reports, and orders shall be filed in the Lead Case and

shall bear the following jointly administered caption:



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

IN RE:                                                        Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,                                   Case No. 6:24-bk-02486-GER

                                                              Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                  Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                   Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                     Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                  Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                     Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                       Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                              Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                        Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                   Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                            Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                 Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                            Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                       Case No. 6:24-bk-02500-GER

      Debtors.
_______________________________________/

         6.     A docket entry shall be made by the Clerk of Court in each of the above-captioned

cases substantially as follows:

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             An order has been entered in this case directing joint administration of the
             following entities for procedural purposes only: (i) Red Lobster Management
             LLC; (ii) Red Lobster Restaurants LLC; (iii) RLSV, Inc.; (iv) Red Lobster Canada,
             Inc; (v) Red Lobster Hospitality LLC; (vi) RL Kansas LLC; (vii) Red Lobster
             Sourcing LLC; (viii) Red Lobster Supply LLC; (vix) RL Columbia LLC; (x) RL
             of Frederick, Inc.; (xi) Red Lobster of Texas, Inc.; (xii) RL Maryland, Inc.; (xiii)
             Red Lobster of Bel Air, Inc.; (xiv) RL Salisbury, LLC; and (xv) Red Lobster
             International Holdings LLC. The docket of Red Lobster Management LLC (Case
             No. 6:24-bk-02486-GER) should be consulted for all matters affecting this case.

         7.        The following papers shall be filed in each jointly administered case, captioned

with the name and case number for that particular case:

                   a.      Lists of creditors pursuant to Rule 1007(d) of the Federal Rules of
                           Bankruptcy Procedure;

                   b.      Schedules and statements of financial affairs, and any amendments thereto;

                   c.      Claims (and any objections to claims and notices relating to transfers of
                           claims);

                   d.      Ballots (if separate plans are filed); and

                   e.      Motions for final decree.

         8.        Each of the jointly administered Debtors shall file separate monthly operating

reports to be docketed in the Lead Case.

         9.        Papers and orders that pertain to one or more specific Debtor(s) shall be filed in the

Lead Case, however, the caption of the paper or order shall designate the specific Debtor(s) to

which the paper or order applies.

         10.       The caption of the paper and or order shall be in the following form:




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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

IN RE:                                                        Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,                                   Case No. 6:24-bk-02486-GER

                                                              Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                  Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                   Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                     Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                  Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                     Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                       Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                              Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                        Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                   Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                            Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                 Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                            Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                       Case No. 6:24-bk-02500-GER

      Debtors.
_______________________________________/

[Specific Debtor’s Name]                                      [Specific Case Number]

_______________________________________/


         11.     Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

         12.     The Debtors shall not commingle assets or liabilities unless and until it is

determined, after notice and hearing, that these cases involve the same debtor or that another

ground exists to order substantive consolidation of these cases.

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         13.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         14.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.

                                              #    #   #

(Attorney Paul Steven Singerman is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.)




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